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 1                                              The Honorable Chief Judge David G. Estudillo

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 7
                            UNITED STATES DISTRICT COURT
 8                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
 9
     PAUL D. ETIENNE, JOSEPH J. TYSON,
10   THOMAS    A.   DALY,  FRANK    R.
11   SCHUSTER, EUSEBIO L. ELIZONDO,
     GARY F. LAZZERONI, GARY M.
12   ZENDER,      ROBERT     PEARSON,
     LUTAKOME       NSUBUGA,     JESÚS                No. 3:25-cv-05461-DGE
13   MARISCAL, MICHAEL KELLY,
14
                          Plaintiffs,                 PLAINTIFFS’ MOTION FOR
15                                                    PRELIMINARY INJUNCTION
           v.
16                                                    NOTE ON MOTION CALENDAR:
     ROBERT W. FERGUSON, in his official              JULY 3, 2025
17   capacity as Governor of Washington,
     NICHOLAS W. BROWN, in his official               ORAL ARGUMENT REQUESTED
18
     capacity     as    Attorney    General    of
19   Washington, LEESA MANION, in her                 RELIEF REQUESTED BY JULY 17, 2025
     official capacity as King County Prosecuting
20   Attorney, LARRY HASKELL, in his official
     capacity as Spokane County Prosecuting
21   Attorney, JOSEPH BRUSIC, in his official
     capacity as Yakima County Prosecuting
22
     Attorney, RANDY FLYCKT, in his official
23   capacity as Adams County Prosecuting
     Attorney, CURT LIEDKIE, in his official
24   capacity as Asotin County Prosecuting
     Attorney, ERIC EISINGER, in his official
25   capacity as Benton County Prosecuting
26   Attorney, ROBERT SEALBY, in his official
     capacity as Chelan County Prosecuting
27   Attorney, MARK NICHOLS, in his official
     capacity as Clallam County Prosecuting

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 1   Attorney, TONY GOLIK, in his official
     Capacity as Clark County Prosecuting
 2   Attorney, DALE SLACK, in his official
     capacity as Columbia County Prosecuting
 3
     Attorney, RYAN JURVAKAINEN, in his
 4   official capacity as Cowlitz County
     Prosecuting Attorney, GORDON EDGAR, in
 5   his official capacity as Douglas County
     Prosecuting Attorney, MICHAEL GOLDEN,
 6   in his official capacity as Ferry County
     Prosecuting Attorney, SHAWN SANT, in his
 7
     official capacity as Franklin County
 8   Prosecuting       Attorney,      MATHEW
     NEWBERG, in his official capacity as
 9   Garfield County Prosecuting Attorney,
     KEVIN McCRAE, in his official capacity as
10   Grant County Prosecuting Attorney, NORMA
11   TILLOTSON, in her official capacity as Grays
     Harbor County Prosecuting Attorney,
12   GREGORY BANKS, in his official capacity
     as Island County Prosecuting Attorney,
13   JAMES KENNEDY, in his official capacity as
     Jefferson County Prosecuting Attorney,
14   CHAD ENRIGHT, in his official capacity as
15   Kitsap    County    Prosecuting Attorney,
     GREGORY ZEMPEL, in his official capacity
16   as Kittitas County Prosecuting Attorney,
     DAVID QUESNEL, in his official capacity as
17   Klickitat County Prosecuting Attorney,
     JONATHAN MEYER, in his official capacity
18   as Lewis County Prosecuting Attorney, TY
19   ALBERTSON, in his official capacity as
     Lincoln County Prosecuting Attorney,
20   MICHAEL DORCY, in his official capacity as
     Mason County Prosecuting Attorney,
21   ALBERT LIN, in his official capacity as
     Okanogan County Prosecuting Attorney,
22
     MICHAEL ROTHMAN, in his official
23   capacity as Pacific County Prosecuting
     Attorney, DOLLY HUNT, in her official
24   Capacity as Pend Orielle County Prosecuting
     Attorney, MARY ROBNETT, in her official
25   capacity as Pierce County Prosecuting
     Attorney, AMY VIRA, in her official capacity
26
     as San Juan County Prosecuting Attorney,
27   RICH WEYRICH, in his official Capacity as
     Skagit County Prosecuting Attorney, ADAM

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 1   KICK, in his official capacity as Skamania
     County Prosecuting Attorney, JASON
 2   CUMMINGS, in his official capacity as
     Snohomish County Prosecuting Attorney,
 3
     ERIKA GEORGE, in her official capacity as
 4   Stevens County Prosecuting Attorney, JON
     TUNHEIM, in his official capacity as
 5   Thurston County Prosecuting Attorney, DAN
     BIGELOW, in his official         capacity as
 6   Wahkiakum County Prosecuting Attorney,
     GABE ACOSTA, in his official capacity as
 7
     Walla Walla County Prosecuting Attorney,
 8   ERIC RICHEY, in his official capacity as
     Whatcom County Prosecuting Attorney, and
 9   DENIS TRACY, in his official capacity as
     Whitman County Prosecuting Attorney,
10

11                        Defendants.

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     PLAINTIFFS’ MOTION                        - iii -
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 1          Plaintiffs hereby move this Court, pursuant to Federal Rule of Civil Procedure 65(a), for

 2   an order preliminarily enjoining Defendants from enforcing RCW § 26.44.030, as amended by

 3   Senate Bill 5375, as applied to information learned solely through the Sacrament of Confession.

 4                                           INTRODUCTION

 5          For centuries, the Roman Catholic Church has taught that the Sacrament of Confession is

 6   protected by the sacramental seal, which absolutely forbids a priest from disclosing in any manner

 7   and for any reason what the priest hears from a penitent during confession. A priest who directly

 8   violates the sacramental seal incurs a latae sententiae excommunication—i.e., automatic

 9   excommunication—thereby risking eternal damnation. Accordingly, the historical record is

10   replete with examples of Catholic priests choosing death as martyrs rather than succumbing to

11   government demands that they violate the sacramental seal.

12          Given this country’s commitment to religious freedom, legal protection for the sacramental

13   seal has been recognized in the United States for more than 200 years. Indeed, one of the earliest

14   religious liberty cases protected the sacramental seal. The Territory of Washington enshrined such

15   protection into its first legal code and recodified the protection when Washington became a state.

16   And the Ninth Circuit has not identified any “case in the United States in which a court has given

17   approval to the invasion of the Catholic rite of confession by an agency of government.” Mockaitis

18   v. Harcleroad, 104 F.3d 1522, 1533 (9th Cir. 1997).

19          Beginning on July 27, 2025, however, the amendments to RCW § 26.44.030 made by

20   Senate Bill 5375 will require Catholic priests to violate the sacramental seal. Specifically, Catholic

21   priests—including all Plaintiffs—will be required to report suspected child abuse or neglect

22   revealed by penitents during confession or face imprisonment, fine, and civil liability. And

23   Washington is putting Catholic priests to that Hobson’s choice despite exempting from any such

24   reporting obligation others who learn of child abuse or neglect through a wide array of confidential

25   communications, including communications covered by the attorney-client privilege. Indeed,

26   Substitute House Bill 1171 simultaneously amends RCW § 26.44.030 to exempt attorneys

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 1   employed by an institution of higher education and anyone working at their direction from the

 2   same reporting requirement.

 3          Because the First Amendment to the U.S. Constitution prohibits the State of Washington

 4   from selectively putting Plaintiffs to a choice between eternal damnation or criminal prosecution,

 5   each of the preliminary injunction factors—likelihood of success, irreparable harm, public interest,

 6   and balance of equities—weighs strongly in Plaintiffs’ favor. First, Plaintiffs have a strong

 7   likelihood of success on their first cause of action—that RCW § 26.44.030, as amended by Senate

 8   Bill 5375, violates the Free Exercise Clause of the First Amendment by imposing unjustifiable

 9   burdens on religious practices that are not generally applicable to secular activities. Specifically,

10   the law burdens Catholic priests by forcing them to act contrary to their faith and disclose

11   confidential communications from the Sacrament of Confession, while at the same time,

12   exempting other persons who learn of abuse and neglect through confidential communications or

13   otherwise. Fellowship of Christian Athletes v. San Jose Unified Sch. Dist. Bd. of Educ., 82 F.4th

14   664, 689 (9th Cir. 2023) (en banc) (“FCA”) (subjecting “selective enforcement favoring

15   comparable secular activities” to strict scrutiny).

16          Second, Plaintiffs are likely to prevail on the merits of their fourth cause of action because

17   RCW § 26.44.030, as amended by Senate Bill 5375, intrudes on matters of Catholic Church

18   governance and discipline in violation of both the Free Exercise and Establishment Clauses of the

19   First Amendment. See Serbian E. Orthodox Diocese v. Milivojevich, 426 U.S. 696, 724-25 (1976)

20   (holding that matters of “internal discipline and government” are the exclusive preserve of a

21   church). The Sacrament of Confession and the meting out of penance is one of the means by which

22   the Catholic Church disciplines its members. By requiring that Catholic priests disclose what they

23   hear in confession, Washington is directly intruding upon, and chilling, that form of discipline.

24          Third, Plaintiffs are also likely to prevail on the merits of their sixth cause of action because

25   RCW § 26.44.030, as amended by Senate Bill 5375, commandeers the Catholic Church’s internal

26   religious practices for state purposes in violation of the Establishment Clause of the First

27   Amendment. The information disclosed to a priest in the Sacrament of Confession would not be


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 1   known by a priest absent the Catholic Church’s teaching about how the Sacrament reconciles a

 2   penitent with God and his Church. By coopting for its own purposes what is disclosed in the purely

 3   religious activity of confession to a priest, Washington is using religious practice to achieve civil

 4   ends—one of the very forms of establishment the Establishment Clause was intended to preclude.

 5   See Shurtleff v. City of Bos., 596 U.S. 243, 286 (2022) (Gorsuch, J. concurring) (describing

 6   “government use[ of] the established church to carry out certain civil functions” as what the

 7   Establishment Clause was intended to prohibit).

 8          These deprivations of Plaintiffs’ constitutional rights constitute per se irreparable harm.

 9   See Roman Cath. Diocese of Brooklyn v. Cuomo, 592 U.S. 14, 19 (2020) (per curiam) (“The loss

10   of First Amendment freedoms for even minimal periods of time, unquestionably constitutes

11   irreparable injury.” (citation omitted)). These deprivations of Plaintiffs’ constitutional rights are

12   also the antithesis of serving the public interest. See Am. Bev. Ass'n v. City & Cnty. of S.F., 916

13   F.3d 749, 758 (9th Cir. 2019) (en banc) (“It is always in the public interest to prevent the violation

14   of a party’s constitutional rights.” (citation omitted)). And these deprivations of Plaintiffs’

15   constitutional rights outweigh any interest Washington has in intruding upon the sacramental

16   seal—an intrusion that for decades Washington has not thought sufficiently important to impose

17   on Catholic priests and that it declines to impose on others who have reasonable cause to believe

18   that a child has suffered abuse or neglect. FCA, 82 F.4th at 695 (where plaintiffs have “(at a

19   minimum) ‘raised serious First Amendment questions,’ that alone ‘compels a finding that the

20   balance of hardships tips sharply in [its] favor’”).

21          For these and the reasons set forth below, Plaintiffs respectfully request that the Court enter

22   a preliminary injunction enjoining the enforcement of RCW § 26.44.030, as amended by Senate

23   Bill 5375, as applied to Catholic confession pending a final judgment on the merits.

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 1                                                  BACKGROUND

 2   I.       The Sacrament of Confession and the Sacramental Seal

 3            The Catholic Church teaches that dying in a state of mortal sin risks eternal damnation to

 4   Hell. Etienne Decl. ¶5. 1 But the Catholic Church also teaches that, through the Sacrament of

 5   Confession, God “will forgive us our sins and cleanse us from all unrighteousness.” Id. While

 6   venial (less serious) sins can be forgiven in various ways, “[t]he Sacrament of Confession is the

 7   only ordinary means by which man receives forgiveness for the commission of mortal sin after

 8   baptism.” Id. ¶6. The absolution afforded through confession is thus a continuation of Christ’s

 9   mission to forgive sins. Id.

10            That confession of sins is protected by the sacramental seal, which “absolutely forbid[s]”

11   a priest from “betray[ing] in any way a penitent in words or in any manner and for any reason.”

12   Id. ¶10. So inviolable is the sacramental seal that “[t]he absolute prohibition imposed by the

13   sacramental seal … prevent[s] the priest from speaking of the content of the confession to the

14   penitent himself, outside of the sacrament.” Id. That is because the sacramental seal derives from

15   the very nature of the sacrament itself, instituted by God, and divinely revealed to the Church. Id.

16            Any priest “who directly violates the sacramental seal incurs a latae sententiae

17   excommunication”—i.e., automatic excommunication.                      Id. ¶12.      The penalty of automatic

18   excommunication is applied to offenses under Canon Law that threaten or contradict the Church’s

19   unity and theological teaching, and include, in addition to violation of the sacramental seal,

20   apostasy, heresy, schism, or desecration of the Eucharist. Id. ¶13. And given the threat posed by

21   such conduct to the unity and theological teaching of the Church, a latae sententiae

22   excommunication is “reserved to the Apostolic See,” meaning only the Pope can lift it. Id.

23   II.      Washington’s Current Framework for Reporting Child Abuse and Neglect

24            Chapter 26.44 of the Revised Code of Washington imposes a legislative framework for

25   reporting child abuse and neglect. It provides “for the reporting of such cases to the appropriate

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      The declarations submitted in support of this Motion are identified herein by the declarant’s last name.
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 1   public authorities” and directs that “protective services shall be made available in an effort to

 2   prevent further abuses, and to safeguard the general welfare of such children.” RCW § 26.44.010.

 3            In its current form, RCW § 26.44.030(1)(a) requires certain, defined groups of persons—

 4   generally agents of the state or those licensed by the state to perform certain services—to report to

 5   the “proper law enforcement agency” or the department of children, youth, and families any child

 6   abuse or neglect that the specified persons have reasonable cause to believe has occurred. Required

 7   reporters include law enforcement officers, probation officers, state-licensed psychologists, state-

 8   registered pharmacists, state-licensed “practitioners of the healing arts,” and other persons

 9   employed by or licensed by the state. RCW § 26.44.030(1)(a). Other “persons,” including

10   religious clergy, family members, or lawyers who have reasonable cause to believe that a child has

11   suffered abuse or neglect “may,” but need not, report such conduct. Id. § 26.44.030(3).

12            RCW § 26.44.030(1)(b) requires “any person” to report suspected abuse or neglect to the

13   “proper law enforcement agency” or the department of children, youth, and families when, “in his

14   or her official supervisory capacity with a nonprofit or for-profit organization,” that person has

15   reason to believe someone “employed by, contracted by, or [who] volunteers with the

16   organization” who “regularly has unsupervised access to a child or children as part of the

17   employment, contract, or voluntary service” has engaged in such abuse. Exempted from this

18   requirement, however, is information obtained “solely as a result of a privileged

19   communication”—including the attorney-client privilege, the spousal privilege, 2 the sexual assault

20   advocate privilege, the domestic violence advocate privilege, the union (including a teacher’s

21   union) representative privilege, and the priest-penitent privilege. Id. §§ 26.44.030(1)(b), 5.60.060.

22   In other words, supervisors are required to report suspected child abuse or neglect by anyone

23   associated with the organization with access to children unless the information was learned through

24   a privileged communication.

25            RCW § 26.44.030(1)(d) requires “any adult who has reasonable cause to believe that a

26   child who resides with them[] has suffered severe abuse” to report that severe abuse if “able or

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     2
      This spousal privilege applies to, among other things, a spouse’s or domestic partner’s confession to rape of a child.
     State v. Roach, 489 P.3d 283 (Wash. Ct. App. 2021).
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 1   capable of making a report.” “Severe abuse” is defined as “[a]ny single act of abuse that causes

 2   physical trauma of sufficient severity that, if left untreated, could cause death; any single act of

 3   sexual abuse that causes significant bleeding, deep bruising, or significant external or internal

 4   swelling; or more than one act of physical abuse, each of which causes bleeding, deep bruising,

 5   significant external or internal swelling, bone fracture, or unconsciousness.”                RCW

 6   § 26.44.030(1)(d). No reporting obligation is imposed on such adults for neglect or abuse that is

 7   not severe; nor is the reporting obligation imposed on nonresident or minor family members,

 8   attorneys, or others with reasonable cause to suspect abuse. See id. § 26.44.030(3).

 9           Finally, RCW § 26.44.030(1)(f) adds to the pool of mandatory reporters in any

10   “administrative and academic or athletic department employees, including student employees, of

11   institutions of higher education …, and of private institutions of higher education.” RCW

12   § 26.44.030(1)(f). This includes law professors at law schools.

13           Failure to make a report under either RCW § 26.44.030(1)(a), (b), (d), or (f) risks criminal

14   prosecution for a gross misdemeanor, carrying a penalty of up to 364 days in prison and a fine of

15   up to $5,000. See RCW §§ 26.44.080, 9A.20.021(c)(2). Those who fail to report may also be

16   subject to civil damages in suits brought by private parties. See Evans v. Tacoma Sch. Dist. No.

17   10, 380 P.3d 553, 561 (Wash. Ct. App. 2016).

18   III.    Despite No Legal Obligation to Do So, Catholic Priests Are Required By Their
             Dioceses to Report to Law Enforcement Suspected Child Abuse or Neglect Learned
19           About Outside Confession
20           Consistent with the Church’s efforts to combat child abuse, Plaintiffs Paul D. Etienne,

21   Joseph J. Tyson, and Thomas A. Daly have all implemented within their respective dioceses

22   policies consistent with, and in many respects broader than, the current child abuse and neglect

23   reporting requirements of RCW § 26.44.030(1)(a) and (b). Etienne Decl. ¶20; Tyson Decl. ¶20;

24   Daly Decl. ¶20. Among the many requirements of those policies include the reporting to proper

25   law enforcement agencies or the department of children, youth, and families whenever Church

26   personnel—including all priests—have reasonable cause to believe child abuse or neglect has

27   occurred. Etienne Decl. ¶20; Tyson Decl. ¶20; Daly Decl. ¶20. Thus, even though they are not


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 1   currently required to report under Washington law, priests within each diocese are required by the

 2   dioceses to report to proper law enforcement agencies or the department of children, youth, and

 3   families suspected child abuse or neglect. Etienne Decl. ¶20; Tyson Decl. ¶20; Daly Decl. ¶20.

 4   The sole exception to this self-imposed reporting requirement is information learned by a priest in

 5   the confessional and thus protected by the sacramental seal. Etienne Decl. ¶20; Tyson Decl. ¶20;

 6   Daly Decl. ¶20.

 7          The priests serving within the Archdiocese of Seattle, Diocese of Spokane, and Diocese of

 8   Yakima, including all Plaintiffs, adhere to these policies. Etienne Decl. ¶20; Tyson Decl. ¶20;

 9   Daly Decl. ¶20. Moreover, when the priests in each diocese, including all Plaintiffs, hear

10   confessions involving sins of child abuse or neglect, they could counsel the penitent to self-report

11   and obtain the necessary temporal intervention and help. Etienne Decl. ¶21; Tyson Decl. ¶21;

12   Daly Decl. ¶21. And priests in each diocese, including all Plaintiffs, who suspect based on what

13   is disclosed during confession that the penitent is suffering from abuse or neglect, the penitent has

14   engaged in abuse or neglect, or some third party has engaged in abuse or neglect, could invite the

15   penitent for counseling outside of the Sacrament of Confession and, if the penitent agrees to that

16   counsel, the priest must report any information learned in that counseling session required to be

17   reported by diocesan policies and RCW § 26.44.030(1)(a). Id.

18   IV.    Washington’s Unconstitutional Amended Framework for Reporting Child Abuse
            and Neglect Beginning July 27, 2025
19

20          On April 30, 2025, Governor Ferguson signed Substitute House Bill 1171, which makes

21   two fundamental changes to the reporting obligations for attorneys at institutions of higher

22   education, both of which reduce the number of mandatory reporters.

23          First, Substitute House Bill 1171 excludes from the RCW § 26.44.030(1)(f) mandatory

24   reporting requirement lawyers employed by institutions of higher education—including law

25   professors—who have reasonable cause to believe that a child has suffered child abuse or neglect

26   if that reasonable cause is merely “related to the representation of a client”—which, on its face, is

27


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 1   broader than even the attorney-client privilege and would thus potentially shield more information

 2   than that protected by the attorney-client privilege alone. 3

 3           Second, Substitute House Bill 1171 excludes from the RCW § 26.44.030(1)(f) mandatory

 4   reporting requirements any employees of institutions of higher education who have reasonable

 5   cause to believe that a child has suffered child abuse or neglect if (1) that employee is working

 6   under the supervision or direction of a lawyer employed by institutions of higher education; and

 7   (2) that reasonable cause is “related to the representation of a client.” 4

 8           The express legislative purpose of Substitute House Bill 1171 was to subordinate

 9   Washington’s interest in preventing child abuse to Washington’s interest in preserving the

10   attorney-client privilege at institutions of higher education and law school legal clinics. 5

11           On May 2, 2025, just two days after signing into law Substitute House Bill 1171, Governor

12   Ferguson signed into law Senate Bill 5375, which makes two fundamental changes to RCW

13   § 26.44.030(1)(a) and (b), both of which expanded the mandatory reporting obligation to include

14   Catholic priests, including reportable information heard in the Sacrament of Confession.

15           First, Senate Bill 5375 amends RCW § 26.44.030(1)(a) to add “any member of the clergy”

16   to the list of persons required to report suspected abuse or neglect. Any other person not

17   specifically delineated in RCW § 26.44.030(1)(a)—e.g., an aunt or uncle of an abused child—

18   remains permitted to make a report but is not required to do so. No exception is made for abuse

19   or neglect about which the priest learned in the Sacrament of Confession. 6

20           Second, Senate Bill 5375 amends RCW § 26.44.030(1)(b) to expressly exclude members

21   of the clergy—and only members of the clergy—from the applications of any of the privileges

22   otherwise recognized by Washington law when learning about suspected child abuse or neglect by

23   a member of an organization in which the clergy member provides a supervisory role: “Except for

24

25   3
       Compare Sub. H.B. 1171, 2025 Wash. Sess. Laws ch. 192, § 2 (exempting from the reporting obligation “information
     related to the representation of a client” (emphasis added)) with RCW § 5.60.060(2)(a) (protecting from disclosure
26   “communication made by the client to him or her, or his or her advice given thereon in the course of professional
     employment” (emphasis added)).
27   4
       Sub. H.B. 1171, 2025 Wash. Sess. Laws ch. 192, § 2.
     5
       See id. § 1.
     6
       SB 5375, 2025 Wash. Sess. Laws ch. 197, § 2.
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 1   members of the clergy, no one shall be required to report under this section when he or she obtains

 2   the information solely as a result of a privileged communication as provided in RCW 5.60.060.” 7

 3   Privileged information obtained by anyone other than clergy remains excluded from the reporting

 4   requirement. And, consistent with the amendment to RCW § 26.44.030(1)(a), no exception is

 5   made for information learned in the Sacrament of Confession.

 6          According to Defendant Ferguson and the Legislature—and despite just two days earlier

 7   subordinating the protection of children from abuse to Washington’s interest in preserving the

 8   attorney-client privilege for law school legal clinics serviced by law students at the direction of

 9   attorney law professors—Senate Bill 5375 was necessary because protecting children is “the most

10   important thing,” so important that not even this Country’s traditions of religious freedom and

11   conscience can be placed “above the protection of a child.” 8

12   V.     Priests Are Committed to Keeping the Sacramental Seal

13          Given the intrusion on the sacramental seal and Plaintiffs’ sincerely held religious belief

14   in, and sacred obligations to uphold, the Catholic Church’s teaching regarding the sacramental

15   seal, the priests serving within the Archdiocese of Seattle, Diocese of Spokane, and Diocese of

16   Yakima, including all Plaintiffs, are committed to keeping inviolate the sacramental seal, even in

17   the face of Senate Bill 5375. See Etienne Decl. ¶17; Tyson Decl. ¶17; Daly Decl. ¶17 (“[N]either

18   I nor the priests within my dioceses will comply with the amendments to RCW § 26.44.030

19   effected by Senate Bill 5375 with respect to any information that I learn solely through the

20   Sacrament of Confession.”); see also Elizondo ¶16; Schuster ¶16; Kelly ¶6; Lazzeroni ¶6; Mariscal

21   ¶6; Nsubuga ¶6; Pearson ¶6; Zender ¶6 (“I will not comply with the amendments to RCW §

22   26.44.030 effected by Senate Bill 5375.”).

23          Plaintiffs filed suit on May 29, 2025 (ECF 1) and now move for preliminary injunctive

24   relief on the First, Fourth, and Sixth Causes of Action, seeking relief by July 17, 2025.

25

26

27
     7
      Id.
     8
      Martens Decl., Ex. 6.
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 1                                                      ARGUMENT

 2            A preliminary injunction is warranted where plaintiffs establish that (1) they are likely to

 3   succeed on the merits, (2) irreparable harm is likely in the absence of preliminary relief, (3) the

 4   balance of equities tips in their favor, and (4) an injunction is in the public interest. Winter, 555

 5   U.S. at 20. Under the Ninth Circuit’s sliding-scale approach to preliminary relief, “serious

 6   questions going to the merits and a balance of hardships that tips sharply towards the plaintiff can

 7   support issuance of a preliminary injunction, so long as the plaintiff also shows that there is a

 8   likelihood of irreparable injury and that the injunction is in the public interest.” All. for the Wild

 9   Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011) (cleaned up). Where a complaint advances

10   several claims, a preliminary injunction must issue if a plaintiff can make the required showing as

11   to any one of his claims. See FCA, 82 F.4th at 712 (Smith, J., concurring in part and dissenting in

12   part) (citing Wild Rockies, 632 F.3d at 1139).

13            Here, all four factors weigh heavily in favor of Plaintiffs’ requested injunction.

14   I.       Plaintiffs Are Likely to Succeed on the Merits of Their Claims

15            Plaintiffs are likely to succeed on the merits of their claims because Senate Bill 5375, as

16   applied to the Catholic Sacrament of Confession, violates the Free Exercise and Establishment

17   Clauses of the First Amendment to the U.S. Constitution. 9 Those clauses provide that “Congress

18   shall make no law respecting an establishment of religion,” (the Establishment Clause), “or

19   prohibiting the free exercise thereof” (the Free Exercise Clause). U.S. Const. amend I (emphases

20   added). Both clauses have been “been made applicable to the States by incorporation into the

21   Fourteenth Amendment” to the U.S. Constitution. See Emp. Div., Dep’t of Human Res. of Or. v.

22   Smith, 494 U.S. 872, 876-77 (1990).

23            A.       Senate Bill 5375 Impermissibly Burdens Religious Exercise (First Cause of
24                     Action)

25            As applied to the Sacrament of Confession, Senate Bill 5375 impermissibly burdens
26   Plaintiffs’ exercise of their sincerely held religious beliefs in violation of the Free Exercise Clause,
27
     9
      Plaintiffs’ Complaint asserts another six causes of action, on each of which Plaintiffs are more than likely to prevail.
     Plaintiffs have focused on three causes of action for purposes of this Motion.
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 1   as alleged in Plaintiffs’ First Cause of Action.

 2          In evaluating a Free Exercise Clause claim, the first question a court must assess is whether

 3   the law at issue “has burdened [plaintiff’s] sincere religious practice.” Waln v. Dysart Sch. Dist.,

 4   54 F.4th 1152, 1159 (9th Cir. 2022) (quoting Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 525

 5   (2022)). When a plaintiff’s religious exercise is burdened by a law that is either not neutral or not

 6   generally applicable, “‘the focus then shifts to the defendant’ to demonstrate that … the challenged

 7   action survives strict scrutiny.” Loffman v. Cal. Dep't of Educ., 119 F.4th 1147, 1165 (9th Cir.

 8   2024) (quoting Kennedy, 597 U.S. at 524-25). And “[s]trict scrutiny in the Free Exercise context

 9   ‘is not watered down; it really means what it says.’” Bacon v. Woodward, 104 F.4th 744, 751 (9th

10   Cir. 2024) (quoting Tandon v. Newsom, 593 U.S. 61, 65 (2021)).

11          “[I]f the object of a law is to infringe upon or restrict practices because of their religious

12   motivation, the law is not neutral.” Church of Lukumi Babalu Aye, Inc. v. City of Hialeah, 508

13   U.S. 520, 533 (1993). Non-neutrality can be assessed by looking to the face of the law at issue,

14   circumstantial evidence of intent, and the law’s operation. See id. at 534-35. A law is not generally

15   applicable if it is substantially underinclusive of non-religiously motivated conduct that might

16   endanger the same governmental interest that the law is designed to protect. Id. at 546-47. In

17   other words, a policy is not generally applicable toward religion if it treats “any comparable secular

18   activity more favorably than religious exercise.” Tandon, 593 U.S. at 62; see also Lukumi, 508

19   U.S. at 533. Comparability “must be judged against the asserted government interest that justifies

20   the regulation at issue.” FCA, 82 F.4th at 689 (quoting Tandon, 593 U.S. at 62). Comparability

21   is lacking when, “in practice,” the asserted interest results in “selective enforcement favoring

22   comparable secular activities.” Id.

23                  1.      Senate Bill 5375 Burdens Sincere Religious Practice

24          There is no doubt that Senate Bill 5375 has burdened Plaintiffs’ sincere religious practice.

25   The most blatant example of such a burden is a law that “affirmatively compels [religious

26   believers], under threat of criminal sanction, to perform acts undeniably at odds with fundamental

27   tenets of their religious beliefs.” Wisconsin v. Yoder, 406 U.S. 205, 218 (1972). Here, Senate Bill


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 1   5375 indisputably compels Plaintiffs to act contrary to their sincere religious beliefs because it

 2   subjects them to criminal prosecution and civil liability for maintaining the sacramental seal when

 3   a penitent discloses child abuse or neglect during the Sacrament of Confession. To be clear,

 4   Plaintiffs do not contend here that the legal reporting obligation, as applied to admissions of child

 5   abuse or neglect outside the confessional, impermissibly burdens Plaintiffs’ religious belief or

 6   practice. As noted above, it is the policy of the Archdiocese of Seattle and the Dioceses of Yakima

 7   and Spokane to report to authorities known or suspected instances of child abuse or neglect learned

 8   outside the Sacrament of Confession. See supra 6-7. But Plaintiffs’ sincere religious practice is

 9   burdened when they are compelled to report, contrary to Church teaching, conduct disclosed in the

10   Sacrament of Confession. See Mockaitis, 104 F.3d at 1531 (“A substantial burden is imposed on

11   his free exercise of religion as the responsible head of the archdiocese of Portland by the intrusion

12   into the Sacrament of Penance by officials of the state.”).

13                     2.       Senate Bill 5375 Is Neither Neutral Nor Generally Applicable

14                              a)       Senate Bill 5375 Is Not Neutral

15            Senate Bill 5375 is not neutral because on its face it restricts a practice—namely, the

16   maintenance of confidentiality—based on its religious status. The text of Section 26.44.030(1)

17   and (3) generally permits people to hold in confidence admissions of child abuse and neglect

18   communicated to them. Senate Bill 5375, however, singles out “clergy,” defined by reference to

19   their religious status, 10 for imposition of a legal obligation to break confidentiality and report child

20   abuse or neglect. See Lukumi, 508 U.S. at 533 (noting that law prohibiting clergy from holding

21   public office violated Free Exercise Clause “because it impose[d] special disabilities on the basis

22   of … religious status” (cleaned up)). That alone makes the law non-neutral and triggers strict

23   scrutiny. See id.

24            But if there were any doubt, the legislative history surrounding enactment of Section Bill

25   5375 confirms the intent to impose a reporting obligation on a religiously defined group of people.

26   See FCA, 82 F.4th at 690 (in evaluating neutrality, the court “must … examine …

27

      See Senate Bill 5375 (defining clergy as “religious or spiritual leader”).
     10

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 1   contemporaneous statements made by members of the decisionmaking body” (internal quotation

 2   marks omitted)). For example, the Senate Bill Report justified the bill as being “about all the

 3   children who have been abused or neglected that we didn’t protect in the name of religious

 4   freedom.” Martens Decl., Ex. 3. Senator Frame, the lead sponsor of Senate Bill 5375, stated that

 5   she could not “stomach any argument about religious freedom being more important than

 6   preventing … abuse,” that it was “traumatizing to have colleagues … tell me to my face that

 7   religious freedom is more important than protecting children,” and “[y]ou never put somebody’s

 8   conscience above the protection of a child.” Martens Decl., Ex. 6, 7. Senate Bill 5375 is thus “not

 9   neutral …, trigger[ing] strict scrutiny under the Free Exercise Clause.” Tandon, 593 U.S. at 62.

10                            b)       Senate Bill 5375 Is Not Generally Applicable

11             Nor is Section 26.44.030(1), as amended by Senate Bill 5375, generally applicable—also

12   triggering strict scrutiny.      It impermissibly exempts groups other than the clergy from its

13   mandatory reporting obligation, notwithstanding that the public interest in preventing child abuse

14   by obligating those exempted groups to disclose child abuse or neglect is no less compelling.

15   Indeed, the vast majority of confirmed child abuse and neglect in Washington—more than 92%—

16   is perpetrated by the victim’s parent or domestic partner. Martens Decl., Ex. 5.

17             Specifically, Senate Bill 5375 added “clergy” to the limited list of mandatory reporters

18   even though:

19        •    Other groups that are likely to learn about child abuse or neglect remain exempted
               from the mandatory obligation—e.g., parents, domestic partners, family members,
20             and attorneys—are not required to report most forms of abuse and neglect. See
21             RCW § 26.44.030(1)(a), (d) & (3).

22        •    Non-clergy supervisors at organizations have no obligation to report abuse or
               neglect by supervisees with access to children if that abuse was learned through a
23             privileged communication. See RCW § 26.44.030(1)(b).
24        •    Substitute House Bill 1171 amended RCW § 26.44.030(1) to exempt attorneys—
               and those working at an attorney’s direction—at institutions of higher education
25
               from requirements to disclose abuse related to representation of a client. 11
26

27
     11
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 1           The reporting obligation imposed by Section 26.44.030(1), as amended by Senate Bill

 2   5375, is therefore selective, rather than generally applicable: it “treats … comparable secular”

 3   persons—like parents, certain non-clergy supervisors, and attorneys learning of abuse—“more

 4   favorably than religious” persons. See Tandon, 593 U.S. at 62 (reversing denial of injunction,

 5   holding that “government regulations are not neutral and generally applicable, and therefore trigger

 6   strict scrutiny under the Free Exercise Clause, whenever they treat any comparable secular activity

 7   more favorably than religious exercise”); Roman Catholic Diocese, 592 U.S. at 17-18 (holding

 8   that law that singles out houses of worship for disparate treatment from secular enterprises is not

 9   generally applicable); Bacon, 104 F.4th at 751; FCA, 82 F.4th at 689. This lack of general

10   applicability also triggers strict scrutiny.

11                   3.      Senate Bill 5375 Cannot Satisfy Strict Scrutiny

12           Because Section 26.44.030(1), as amended by Senate Bill 5375, is not neutral nor generally

13   applicable and burdens Plaintiffs’ sincere religious practice of the Sacrament of Confession, the

14   law is subject to strict scrutiny. See Lukumi, 505 U.S. at 546 (“A law burdening religious practice

15   that is not neutral or not of general applicability must undergo the most rigorous of scrutiny.”);

16   Defendants thus bear the burden of proving that the law serves a “compelling” governmental

17   interest to which the law is “narrowly tailored.” Kennedy, 597 U.S. at 525; Waln, 54 F.4th at 1163

18   (same). Satisfying this burden will occur “only in rare cases,” Lukumi, 505 U.S. at 546, and

19   requires that Defendants present proof—not mere “speculation”—that the law serves a compelling

20   government interest and is narrowly tailored, Fulton v. City of Phila., 593 U.S. 522, 542 (2021).

21           A law is not narrowly tailored to a compelling government interest “[w]here government

22   restricts only conduct protected by the First Amendment and fails to enact feasible measures to

23   restrict other conduct producing substantial harm or alleged harm of the same sort.” Lukumi, 505

24   U.S. at 546-47. Nor is a law is narrowly tailored if it is “overbroad or underinclusive in substantial

25   respects.” Id. at 546. “Put differently, a law … fails narrow tailoring if … other permissible

26   conduct ‘endangers these interests in a similar or greater degree.’” Bacon, 104 F.4th at 753

27


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 1   (quoting Lukumi, 508 U.S. at 543). Furthermore, if “the government can achieve its interests in a

 2   manner that does not burden religious exercise, it must do so.” Fulton, 593 U.S. at 541.

 3          Under these standards, Senate Bill 5375 is not narrowly tailored to a compelling

 4   government interest. To the extent protecting children from abuse and neglect is the purpose of

 5   Senate Bill 5375 and RCW § 26.44.030 as amended, see supra 8-9, 12-3 (recounting purpose of

 6   Senate Bill 5375 as articulated by the bill sponsor and Governor), there is no reason why protecting

 7   children from abuse and neglect cannot be accomplished by a clergy reporting obligation that does

 8   not intrude upon the sacramental seal. Fulton, 593 U.S. at 542. RCW § 26.44.030 demonstrates

 9   this by making certain persons mandatory reporters but exempting information learned through

10   certain communications: non-clergy supervisors of employees with regular access to children and

11   attorneys (and those working at their direction) at institutions of higher education are both

12   mandatory reporters, except with respect to certain privileged information.                   RCW

13   § 26.44.030(1)(b); Sub. H.B. 1171, 2025 Wash. Sess. Laws ch. 192, § 2. The policies of the

14   Catholic Church in Washington also demonstrate that there exists a means of protecting children

15   from abuse and neglect without invading the Sacrament of Confession. As noted above, the

16   Archdiocese of Seattle and the Dioceses of Spokane and Yakima have all implemented policies

17   that require the reporting to proper law enforcement agencies or the department of children, youth,

18   and families whenever Church personnel—including all priests—learn of abuse or neglect, except

19   when that abuse is heard in the Sacrament of Confession. Etienne Decl. ¶20; Tyson Decl. ¶20;

20   Daly Decl. ¶20. These policies are more than the law currently requires—of clergy and non-clergy

21   personnel. Cf. Roman Cath. Diocese, 592 U.S. at 18 (no narrow tailoring where plaintiffs’ policies

22   were more stringent than the law required but less onerous than the challenged obligation sought

23   to impose). And these policies serve the interest of protecting children without imposing any

24   burden on the religious exercise of Catholic clergy. Indeed, the Archdiocese of Seattle and the

25   Dioceses of Spokane and Yakima have supported legislation to that effect.

26          Moreover, the interest in protecting children is equally served by requiring all relatives,

27   attorneys, and non-clergy supervisors of employees with regular access to children—in addition


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 1   to clergy—to report suspect child abuse and neglect. But RCW § 26.44.030 imposes no reporting

 2   obligation on such persons to report the suspected child abuse and neglect that clergy are required

 3   to report. Thus, RCW § 26.44.030(1), as amended by Senate Bill 5375, fails to implement feasible

 4   measures on non-clergy to address “substantial harm or alleged harm of the same sort” as the

 5   measures that Senate Bill 5375 imposes on Catholic clergy. Lukumi, 508 U.S. at 547; see also

 6   Cath. Charities Bureau, Inc. v. Wis. Lab. & Indus. Rev. Comm’n, 605 U.S. __ (2025), Slip. Op. at

 7   13-14 (law not “closely fitted” to compelling interest in funding unemployment coverage where

 8   secular but not religious entities were exempted from tax funding the coverage).

 9          For these reasons, RCW § 26.44.030(1), as amended by Senate Bill 5375, necessarily fails

10   strict scrutiny, and Plaintiffs are likely to succeed on their First Cause of Action.

11          B.      Senate Bill 5375 Violates Church Autonomy (Fourth Cause of Action)

12          By interfering with the Church’s internal discipline and governance, Washington is also

13   violating the church autonomy doctrine grounded in both the Free Exercise and Establishment

14   Clauses, as alleged in the Fourth Cause of Action.

15          The Free Exercise and Establishment Clauses “collectively ‘protect[ ] the right of religious

16   institutions to decide for themselves, free from state interference, matters of church government

17   as well as those of faith and doctrine.’” Markel v. Union of Orthodox Jewish Congregations of

18   Am., 124 F.4th 796, 802 (9th Cir. 2024) (quoting Our Lady of Guadalupe Sch. v. Morrissey-Berru,

19   591 U.S. 732, 737 (2020)). Church autonomy keeps religious organizations free “from secular

20   control or manipulation.” Kedroff v. St. Nicholas Cathedral of Russian Orthodox Church in N.

21   Am., 344 U.S. 94, 116 (1952).

22          “[T]he general principle of church autonomy” protects “independence in matters of faith

23   and doctrine and in closely linked matters of internal government.” Our Lady, 591 U.S. at 747.

24   “[I]nternal government” includes the appointment and authority of clergy, Gonzalez v. Roman

25   Catholic Archbishop of Manila, 280 U.S. 1, 16-17 (1929), replacing church administrators,

26   Kedroff, 344 U.S. at 119, and the hiring and firing of parochial schoolteachers, Hosanna-Tabor

27   Evangelical Church & School v. EEOC, 565 U.S. 171, 196 (2012), among many other issues. See


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 1   Serbian, 426 U.S. at 713-14 (civil courts exercise no jurisdiction “in a matter which concerns

 2   theological controversy, church discipline, ecclesiastical government, or the conformity of the

 3   members of the church to the standard of morals required of them.”). As relevant here, the church

 4   autonomy doctrine also governs the “strictly and purely ecclesiastical” issues of “church

 5   discipline” and “ecclesiastical government.” See id. (quoting Watson v. Jones, 80 U.S. 679, 733

 6   (1872)). On such matters, no government interest can justify the intrusion: civil governments must

 7   “stay out.” Our Lady, 591 U.S. at 746; see also Hosanna-Tabor, 565 U.S. at 196 (“The First

 8   Amendment has struck the balance for us.”).

 9                  1.     Senate Bill 5375 Interferes with Church Discipline

10          Courts have long held that “questions of church discipline are at the core of ecclesiastical

11   concern.” Serbian, 426 U.S. at 717. Senate Bill 5375 completely disrupts the process of church

12   discipline embodied within the Sacrament of Confession.

13          Senate Bill 5375 interferes with a priest’s charge to discipline lay members of the Church

14   through the Sacrament of Confession. In the confessional, the Catholic Church teaches that a priest

15   acts in persona Christi (“in the person of Christ”). Etienne Decl. ¶6; Compl. ¶49. This means that

16   the priest serves as “‘equally a judge and physician,’” “‘a minister of divine justice and mercy.’”

17   Etienne Decl. ¶6; Compl. ¶49 (quoting Code of Canon Law c.978 § 1). The priest is obligated to

18   “adhere faithfully to the doctrine of the magisterium and the norms of competent authority,” pose

19   questions to the penitent “with prudence and discretion,” and “impose salutary and suitable

20   penances in accord the quality and number of sins, taking into account the condition of the

21   penitent.” Etienne Decl. ¶¶7-8; Compl. ¶50 (quoting Code of Canon Law cc.978 § 2, 979-980).

22   Upon the priest’s absolution, the penitent is “‘reconciled with God and His Church.’” Etienne

23   Decl. ¶8; Compl. ¶5 (quoting Code of Canon Law c.960 § 1). The sacrament is thus both an

24   indispensable act of mercy and a central form of Church discipline.

25          Senate Bill 5375 interferes with this finely tuned religious disciplinary process by

26   removing the confidentiality that is one of its animating characteristics. Catholic Canon Law

27   “absolutely forbid[s]” priests from ever divulging what a penitent relays in confession “in any


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 1   manner and for any reason.” Code of Canon Law c.983 § 1. Senate Bill 5375 thus interferes with

 2   the “church discipline” inherent in the Sacrament of Confession by forcing priests to break the seal

 3   and punishing them if they do not. Serbian, 426 U.S. at 714. Unsurprisingly, the Ninth Circuit

 4   has not identified any “case in the United States in which a court has given approval to the invasion

 5   of the Catholic rite of confession by an agency of government.” Mockaitis, 104 F.3d at 1533.

 6           To the contrary, that invasion runs directly counter to longstanding caselaw recognizing the

 7   confessional seal as part of the Catholic Church’s autonomy protected by the First Amendment.

 8   For example, in People v. Philips, one of the earliest-known religious freedom cases in the United

 9   States, the Court of General Sessions of New York City refused to force a Catholic priest to testify

10   in a criminal case about what he heard in the Sacrament of Confession. People v. Philips, Ct. of

11   Gen. Sessions, City of N.Y. (June 14, 1813), cited with approval in Mockaitis, 104 F.3d at 1532.

12   As that court observed, “The sinner will not confess, nor will the priest receive his confession, if

13   the veil of secrecy is removed.” Id. Relying on the “religious freedom guaranteed by the

14   constitution,” the court held it “essential to the free exercise of a religion, that its ordinances should

15   be administered,” including the Sacrament of Confession. Id.

16           Senate Bill 5375 also interferes with a bishop’s ability to discipline the priests whom he

17   governs. A church’s power to supervise its ministers “was recognized to preserve a church’s

18   independent authority in such matters.” Our Lady, 591 U.S. at 747. “Without that power” of

19   ministerial supervision, a priest “could contradict the church’s tenets and lead the congregation

20   away from the faith.” Id. Senate Bill 5375, however, demands that Catholic bishops violate their

21   supervisory authority guaranteed by the church autonomy doctrine. That is because bishops are

22   charged by the Church with the authority to “revoke the faculty to hear confessions,” Code of

23   Canon Law c.974 § 1, and “punish[ ]” even “indirect[ ]” violations of the confessional seal, see id.

24   at c.1386 § 1. And Senate Bill 5375 would chill Catholic bishops from exercising these

25   supervisory powers and expose bishops to liability if they enforce them.

26

27


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 1                  2.      Senate Bill 5375 Interferes with Church Government

 2          Senate Bill 5375 also unconstitutionally interferes in ecclesiastical government. By

 3   demanding priests divulge what they hear in sacramental confession to law enforcement,

 4   Washington violates the Church’s “independent authority” over sacraments, which are “essential

 5   to the institution’s central mission.” Our Lady, 591 U.S. at 746-47. Under RCW § 26.44.030 as

 6   amended by Senate Bill 5375, priests cannot hear confessions in compliance with Catholic Canon

 7   law, and bishops cannot perform their oversight duties in compliance with Canon Law. Indeed,

 8   Washington legislators expressly recognized that Senate Bill 5375 would require the Church to

 9   “change cannon [sic] law” in order to comply. Martens Decl., Ex. 2, 3; Compl. ¶¶86, 83-89. These

10   are “intrusion[s]” into “matters of church government” that the First Amendment prohibits. See

11   Our Lady, 591 U.S. at 746. Washington “must ‘accept the ecclesiastical decisions of church

12   tribunals as [they] find[] them.’” Hunter v. Dep’t of Educ., 115 F.4th 955, 967 (9th Cir. 2024)

13   (quoting Serbian, 426 U.S. at 698). These “strictly and purely ecclesiastical” demands therefore

14   exceed the State’s power. See Watson, 80 U.S. at 733.

15          C.      Senate Bill 5375 Commandeers Religious Practice (Sixth Cause of Action)

16          Fundamentally, Senate Bill 5375 seeks to leverage quintessentially religious speech to

17   serve state ends. In effect, it conscripts the Catholic Church to serve as Washington’s ecclesiastical

18   arm. Such commandeering of church functions is a blatant Establishment Clause violation—

19   indeed, the very type of conduct the Establishment Clause was intended to foreclose—as alleged

20   in the Sixth Cause of Action.

21          Establishment Clause violations occur when civil law adopts the “hallmarks of religious

22   establishments [that] the framers sought to prohibit.” Kennedy, 597 U.S. at 537; see also

23   Hilsenrath v. Sch. Dist. of Chathams, 136 F.4th 484, 491 (3d Cir. 2025) (applying “hallmarks”

24   test). Those hallmarks are informed by the founding generation’s desire to break away from “the

25   established Church of England, over which the King of England and Parliament exercised

26   significant control, not only in matters of personnel, but also in matters of doctrine and worship.”

27


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 1   Markel, 124 F.4th at 808. “This type of established religion was present in the colonies too,”

 2   including in Virginia where the Church of England was established. Id.

 3          One hallmark of an establishment was the government’s use of the church “to carry out

 4   certain civil functions.” Hilsenrath, 136 F.4th at 491 (quoting Shurtleff, 596 U.S. at 286, and citing

 5   Michael W. McConnell, Establishment and Disestablishment at the Founding, Part I:

 6   Establishment of Religion, 44 Wm. & Mary L. Rev. 2105, 2110-12, 2131-81 (2003)). This

 7   hallmark was present in the religious establishment in colonial Virginia, where the government

 8   forced clergy to make “biennial presentments to the county court of certain misdemeanors,”

 9   including sexual offenses. McConnell, supra, at 2176. Indeed, this was “[p]erhaps the most

10   ‘governmental’ of all duties of church officials in Virginia.” Id. And it was this religious

11   establishment that the founding fathers precluded with the Establishment Clause of the First

12   Amendment. As the Ninth Circuit has observed, “the history of the nation has shown a uniform

13   respect for the character of sacramental confession as inviolable by government agents interested

14   in securing evidence of crime from the lips of criminal.” Mockaitis, 104 F.3d at 1532.

15          In violation of this prohibition, Senate Bill 5375 commandeers the Catholic Church to carry

16   out civil functions by turning confession into governmental information gathering. Senate Bill

17   5375 requires bishops and priests to ignore the confessional seal and relay to law enforcement

18   penitents’ statements during confession. In other words, as in colonial Virginia, Washington law

19   requires clergy to make presentment to the government of certain criminal offenses, including

20   sexual offenses. Compare McConnell, supra, at 2176. In doing so, Washington is exercising its

21   police power through the Church’s ecclesiastical discipline and governance. And by seeking to

22   “dictate or … influence such matters,” Senate Bill 5375 “constitute[s] one of the central attributes

23   of an establishment of religion. The First Amendment outlaws such intrusion.” Our Lady, 591

24   U.S. at 746; see also Larkin v. Grendel’s Den, Inc., 459 U.S. 116, 123 (1982) (“delegating a

25   governmental power to religious institutions, inescapably implicates the Establishment Clause,”

26   “independent” of the Lemon test).

27


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 1   II.        Plaintiffs Face Irreparable Harm in the Absence of Injunctive Relief

 2              “‘Irreparable harm is relatively easy to establish in a First Amendment case[,]’ because the

 3   party seeking the injunction ‘need only demonstrate the existence of a colorable First Amendment

 4   claim.’” FCA, 82 F.4th at 694-95 (quoting Cal. Chamber of Com. v. Council for Educ. & Rsch.

 5   on Toxics, 29 F.4th 468, 482 (9th Cir. 2022)); see also Doe v. Harris, 772 F.3d 563, 583 (9th Cir.

 6   2014) (holding law modernizing reporting obligations of sex offenders likely violated the First

 7   Amendment, which constituted irreparable injury). That is because “it is axiomatic that ‘[t]he loss

 8   of First Amendment freedoms for even minimal periods of time, unquestionably constitutes

 9   irreparable injury.’” FCA, 82 F.4th at 694-95 (quoting Roman Cath. Diocese, 592 U.S. at 19).

10   Each of Plaintiffs’ First Amendment claims is therefore alone sufficient to establish irreparable

11   injury. See FCA, 82 F.4th at 694-95.

12              Moreover, Senate Bill 5375 was enacted to coerce the Church into “chang[ing] its rules.”

13   E.g., Compl. ¶¶86-87. In other words, the law requires Plaintiffs to “take significant … compliance

14   measures”—namely, fundamentally changing the confessional and breaking from Church doctrine

15   to be an arm of the state—“or risk criminal prosecution.” Am. Booksellers Found. for Free

16   Expression v. Sullivan, 2010 WL 11453161, *3 (D. Alaska Oct. 20, 2010). Because Plaintiffs here

17   will not comply with the law, the threat of government intrusion into the sanctity of the sacramental

18   seal and the priest-penitent relationship posed by investigation and enforcement of RCW

19   § 26.44.030(1), as amended by Senate Bill 5375, constitutes irreparable harm. The law imposes a

20   chilling effect on the confessional that jeopardizes the ability of Plaintiffs—and Catholic priests

21   throughout Washington—to reconcile laity with God and His Church. Etienne Decl. ¶18. And

22   without a full confession from a penitent, the absolution afforded by Plaintiffs and all Catholic

23   priests in Washington will fail to completely reconcile Catholic penitents with God and His

24   Church, substantially impeding the mission of the Church—and all Plaintiffs—to save souls.

25   Etienne Decl. ¶18; cf. FCA, 82 F.4th at 694-95 (identifying impeding plaintiff’s “ability to recruit

26   new students to bolster its dwindling membership” as harm warranting preliminary injunctive

27   relief).


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 1   III.    The Remaining Preliminary Injunction Factors Weigh in Favor of Injunctive Relief

 2           “Where, as here, the party opposing injunctive relief is a government entity, the third and

 3   fourth factors—the balance of equities and the public interest—‘merge.’” FCA, 82 F.4th at 695

 4   (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)).              Those factors indisputably favor a

 5   preliminary injunction here.

 6           Plaintiffs have “(at a minimum) ‘raised serious First Amendment questions,’” which “alone

 7   compels a finding that the balance of hardships tips sharply in [its] favor.” FCA, 82 F.4th at 695

 8   (cleaned up). “[I]t is always in the public interest to prevent the violation of a party's constitutional

 9   rights.” Id. (quoting Am. Bev., 916 F.3d at 758). And, as noted above, RCW § 26.44.030 risks

10   substantially—and irreparably—interfering with Plaintiffs’ service to God and His Church.

11           Moreover, the harms imposed by enforcement of RCW § 26.44.030(1), as amended by

12   Senate Bill 5375, extend beyond Plaintiffs to the lay faithful and the public more generally. Not

13   only does a state-imposed impediment to the sacraments “strike at the very heart of the First

14   Amendment’s guarantee of religious liberty,” Roman Cath. Diocese, 592 U.S. at 19-20, but

15   impeding a Catholic penitent from the Sacrament of Confession means the penitent will remain

16   separated from Christ’s Church and God, risking their eternal damnation to Hell. It also impedes

17   a priest from counseling an offending penitent both that absolution requires a commitment to no

18   longer offend (which may lead to treatment or other intervention) and true contrition (which may

19   lead to accepting responsibility)—a risk expressly acknowledged by Washington’s Supreme

20   Court. See State v. Motherwell, 788 P.2d 1066, 1069 (Wash. 1990) (“[A] rule that requires clergy

21   to report under all circumstances could serve to dissuade parishioners from acknowledging in

22   consultation with their ministers the existence of abuse and seeking a solution to it.”).

23           By contrast, there is no harm to the public by temporarily preserving the sacramental seal

24   during this litigation. Washington’s child abuse and reporting statute has existed for decades

25   without requiring priests to report what they learned in confession. See FCA, 82 F.4th at 695 (no

26   harm to defendant where plaintiff had “existed as a recognized club for nearly two decades without

27   any objection”); Doe #1 v. Trump, 957 F.3d 1050, 1068 (9th Cir. 2020) (holding “[t]he public


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 1   interest lies with maintaining the status quo,” where, “[f]or countless decades,” a statutory scheme

 2   existed without the new requirement sought to be enjoined). And there is no evidence that

 3   intruding upon the sacramental seal will in fact increase the prevention of child abuse or neglect.

 4   Catholic priests in Washington are already required to—and do—report child abuse and neglect

 5   when learned outside the Sacrament of Confession. Etienne Decl. ¶19; Tyson Decl. ¶19; Daly

 6   Decl. ¶19; see Am. Booksellers, 2010 WL 11453161, *3 (rejecting state’s public interest arguments

 7   where it had “clear alternative options for prosecuting sexual predators and where plaintiffs

 8   asserted being “face[d] with unconstitutional restrictions on their communicative activities with

 9   the potential of a criminal charge hanging over them”). And, when they learn of abuse in the

10   sacrament, they can take steps to engage the penitent in non-sacramental counselling, which, if

11   that counseling provides an independent reasonable cause to believe child abuse or neglect has

12   occurred, is reported to authorities.       Etienne Decl. ¶21.     In any event, Catholic priests in

13   Washington—like their brother priests throughout history—have committed to maintain the

14   sacramental seal, even in the face of threatened imprisonment, fine, or civil liability: this is a matter

15   of libertas Ecclesiae, so there will be no reporting. Etienne Decl. ¶¶12, 17.

16           Put simply, enforcing RCW § 26.44.030(1), as amended by Senate Bill 5375, during this

17   litigation will do no more than punish priests—and preclude potential intervention and reporting

18   of abuse and neglect—in an expression of state opprobrium of Catholic teaching regarding the

19   sacramental seal. Opprobrium of religion serves no public interest.

20                                               CONCLUSION

21           Preliminary relief is necessary to stop irreparable harm to Plaintiffs and safeguard the

22   American commitment to the free exercise of religion. Plaintiffs respectfully request that this

23   Court issue a preliminary injunction blocking the investigation and enforcement of RCW

24   § 26.44.030, as amended by Senate Bill 3575, to the extent it applies to information learned by

25   Catholic clergy through the Sacrament of Confession.

26                                           ⁎       ⁎         ⁎

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 1          The undersigned certifies that this motion contains 8,360 words, in compliance with Local

 2   Civil Rule 7(e)(6).

 3

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 1                                     CERTIFICATE OF SERVICE

 2            I certify under penalty of perjury that on June 5, 2025, I caused to be electronically filed
 3
     the foregoing document with the Clerk of the Court using the CM/ECF system, which will send a
 4
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 6
              Dated: June 5, 2025
 7

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